                       Case 20-65927-sms                         Doc 15           Filed 06/22/20 Entered 06/22/20 13:41:08                                        Desc Main
                                                                                 Document      Page 1 of 11
 Fill in this information to identify your case:
 Debtor 1               John                                    Anthony                          Gatell
                        First Name                              Middle Name                      Last Name
 Debtor 2
 (Spouse, if filing)    First Name                              Middle Name                      Last Name
 United States Bankruptcy Court for the:              Northern                            District of Georgia
                                                                                                      (State)
 Case number            20-65927
 (If known)
                                                                                                                                                                             Check if this is an
                                                                                                                                                                             amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:       Summarize Your Assets

                                                                                                                                                        Your assets
                                                                                                                                                        Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                 $141,823.00
     1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................
                                                                                                                                                                 $13,870.00
      1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                 $155,693.00
      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................


 Part 2:       Summarize Your Liabilities

                                                                                                                                                        Your liabilities
                                                                                                                                                        Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                 $13,139.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                     $1,000.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................
                                                                                                                                                                 $11,974.00
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                             Your total liabilities              $26,113.00



 Part 3:       Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                 $2,977.00
     Copy your combined monthly income from line 12 of Schedule I .........................................................................

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                 $2,427.00
     Copy your monthly expenses from line 22, Column A, of Schedule J................................................................




  Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 1
                 Case 20-65927-sms                  Doc 15        Filed 06/22/20 Entered 06/22/20 13:41:08                                 Desc Main
                                                                 Document      Page 2 of 11
Debtor 1 John                                Anthony                   Gatell                       Case number (if known) 20-65927
            First Name                       Middle Name               Last Name

Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes.

7. What kind of debt do you have?
          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.
          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                 $0.00
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     From Part 4 on Schedule E/F, copy the following:                                                         Total claim


     9a. Domestic support obligations (Copy line 6a.)                                                         $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $1,000.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                      $0.00

     9d. Student loans. (Copy line 6f.)                                                                       $0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as              $0.00
     priority claims. (Copy line 6g.)
                                                                                                              $0.00
     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

     9g. Total. Add lines 9a through 9f.                                                                      $1,000.00




 Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                             page 2
                       Case 20-65927-sms            Doc 15         Filed 06/22/20 Entered 06/22/20 13:41:08                                 Desc Main
                                                                  Document      Page 3 of 11
 Fill in this information to identify your case:
 Debtor 1               John                        Anthony               Gatell
                        First Name                  Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)    First Name                  Middle Name           Last Name

 United States Bankruptcy Court for the:     Northern                District of Georgia
                                                                                 (State)
 Case number            20-65927
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106Dec                                                                                                                             amended filing


Declaration About an Individual Debtor's Schedules                                                                                                           12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

              Yes. Name of person                                          Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                           Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    /s/ John Gatell
             of Debtor 1
                                                                                  û Signature of Debtor 2
       Date 6/18/2020                                                                  Date
            MM/DD/YYYY                                                                        MM/DD/YYYY




   Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules                                        page 1



                                                                                                     Doc ID: 3a75d49d064b75491f80bf481532a00eefbfe307
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Fill in this information to identify your case:
Debtor 1         John                          Anthony                 Gatell
                 First Name                    Middle Name             Last Name                          Check if this is:
Debtor 2
(Spouse, if filing) First Name                 Middle Name             Last Name                             An amended filing

United States Bankruptcy Court for     Northern                   District of Georgia                          A supplement showing post-petition chapter 13
the:                                                                                                           expenses as of the following date:
                                                                              (State)
Case number 20-65927
(If known)                                                                                                     MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include
information about your spouse. If you are separated and your spouse is not filing with you, do not include information about your
spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1: Describe Employment


 1. Fill in your employment                                          Debtor 1                                     Debtor 2
    information.
                                       Employment status                Employed                                     Employed
     If you have more than one job,
     attach a separate page with                                        Not Employed                                 Not Employed
     information about additional
     employers.                        Occupation
     Include part time, seasonal, or   Employer's name
     self-employed work.
                                       Employer's address
     Occupation may include student                                  Number Street                                Number Street
     or homemaker, if it applies.




                                                                     City                State   Zip Code         City                State   Zip Code

                                       How long employed
                                       there?


 Part 2: Give Details About Monthly Income

 Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
 spouse unless you are separated.
 If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
 more space, attach a separate sheet to this form.
                                                                                        For Debtor 1             For Debtor 2 or
                                                                                                                 non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll      2.                  $0.00
     deductions.) If not paid monthly, calculate what the monthly wage would
     be.
  3. Estimate and list monthly overtime pay.                                    3.                + $0.00
  4. Calculate gross income. Add line 2 + line 3.                               4.                     $0.00




   Official Form 106I                                            Schedule I: Your Income                                                      page 1


                                                                                                 Doc ID: 3a75d49d064b75491f80bf481532a00eefbfe307
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Debtor 1John                               Anthony                    Gatell                      Case number (if         20-65927
         First Name                        Middle Name                Last Name                   known)
                                                                                            For Debtor 1           For Debtor 2 or
                                                                                                                   non-filing spouse

  Copy line 4 here                                                                4.                   $0.00
5. List all payroll deductions:
   5a. Tax, Medicare, and Social Security deductions                              5a.                  $0.00
   5b. Mandatory contributions for retirement plans                               5b.                  $0.00
   5c. Voluntary contributions for retirement plans                               5c.                  $0.00
   5d. Required repayments of retirement fund loans                               5d.                  $0.00
   5e. Insurance                                                                  5e.                  $0.00
   5f. Domestic support obligations                                               5f.                  $0.00
   5g. Union dues                                                                 5g.                  $0.00
   5h. Other deductions. Specify:                                                 5h. +                $0.00 +
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g          6.                   $0.00
+5h.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.            7.                   $0.00

8. List all other income regularly received:
   8a. Net income from rental property and from operating a
       business, profession, or farm
       Attach a statement for each property and business showing
       gross receipts, ordinary and necessary business expenses, and
       the total monthly net income.                                              8a.                  $0.00
   8b. Interest and dividends                                                     8b.                  $0.00
   8c. Family support payments that you, a non-filing spouse, or a
       dependent regularly receive
       Include alimony, spousal support, child support, maintenance,
       divorce settlement, and property settlement.                               8c.                  $0.00
   8d. Unemployment compensation                                                  8d.                  $0.00
   8e. Social Security                                                            8e.             $2,352.00
   8f. Other government assistance that you regularly receive
       Include cash assistance and the value (if known) of any non-
       cash assistance that you receive, such as food stamps (benefits
       under the Supplemental Nutrition Assistance Program) or
       housing subsidies
       Specify:
        Other Government Assistance Income                                        8f.               $625.00
   8g. Pension or retirement income                                               8g.                  $0.00
   8h. Other monthly income. Specify:                                             8h. +                $0.00 +
9. Add all other income Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.           9.               $2,977.00

10.Calculate monthly income. Add line 7 + line 9.                                 10.              $2,977.00 +                         =              $2,977.00
   Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse

11. State all other regular contributions to the expenses that you list in Schedule J.
   Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
   friends or relatives.
   Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
   Specify:                                                                                                                            11. +               $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.                  12.
   Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                       $2,977.00
                                                                                                                                               Combined
                                                                                                                                               monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.

        Yes. Explain:




  Official Form 106I                                                 Schedule I: Your Income                                                      page 2

                                                                                                       Doc ID: 3a75d49d064b75491f80bf481532a00eefbfe307
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                                                                       Document      Page 6 of 11
 Fill in this information to identify your case:
 Debtor 1               John                             Anthony                      Gatell
                        First Name                       Middle Name                  Last Name
                                                                                                                     Check if this is:
 Debtor 2
 (Spouse, if filing)    First Name                       Middle Name                  Last Name                          An amended filing

 United States Bankruptcy Court for the:          Northern                       District of Georgia                     A supplement showing post-petition chapter 13
                                                                                                                         expenses as of the following date:
                                                                                             (State)
 Case number            20-65927
 (If known)                                                                                                              MM / DD / YYYY

Official Form 106J
Schedule J: Your Expenses                                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
 Part 1:       Describe Your Household
 1. Is this a joint case?

              No. Go to line 2

              Yes. Does Debtor 2 live in a separate household?

                         No

                         Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                 No
    Do not list Debtor 1 and                Yes. Fill out this information for     Dependent's relationship to          Dependent's          Does dependent live
    Debtor 2.                               each dependent                         Debtor 1 or Debtor 2                 age                  with you?
 3. Do your expenses include
    expenses of people other                No
    than
    yourself and your                       Yes
    dependents?

 Part 2:       Estimate Your Ongoing Monthly Expenses
 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                                              Your expenses
  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                                                   $0.00
      any rent for the ground or lot. 4.                                                                                                       4.
       If not included in line 4:
       4a. Real estate taxes                                                                                                                   4a                  $125.00
       4b. Property, homeowner's, or renter's insurance                                                                                       4b.                   $43.00
       4c. Home maintenance, repair, and upkeep expenses                                                                                      4c.                   $55.00
       4d. Homeowner's association or condominium dues                                                                                        4d.                   $50.00




     Official Form 106J                                                      Schedule J: Your Expenses                                                     page 1



                                                                                                                 Doc ID: 3a75d49d064b75491f80bf481532a00eefbfe307
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Debtor 1 John                               Anthony                      Gatell                     Case number (if known) 20-65927
          First Name                        Middle Name                  Last Name


                                                                                                                                               Your expenses
5. Additional mortgage payments for your residence, such as home equity loans                                                          5.                  $0.00
6. Utilities:
   6a. Electricity, heat, natural gas                                                                                                 6a.              $300.00
   6b. Water, sewer, garbage collection                                                                                               6b.              $150.00
   6c. Telephone, cell phone, Internet, satellite, and cable services                                                                 6c.              $250.00
   6d. Other. Specify:                                                                                                                 6d                  $0.00
7. Food and housekeeping supplies                                                                                                      7.              $600.00
8. Childcare and children's education costs                                                                                           8.                   $0.00
9. Clothing, laundry, and dry cleaning                                                                                                9.               $100.00
10. Personal care products and services                                                                                               10.              $100.00
11. Medical and dental expenses                                                                                                       11.                 $54.00
12. Transportation. Include gas, maintenance, bus or train fare.                                                                      12.              $380.00
    Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books                                                                13.                  $0.00
14. Charitable contributions and religious donations                                                                                  14.                  $0.00
15. Insurance.
   Do not include insurance deducted from your pay or included in lines 4 or 20.
   15a. Life insurance                                                                                                                15a                  $0.00
   15b. Health insurance                                                                                                              15b                  $0.00
   15c. Vehicle insurance                                                                                                             15c              $220.00
   15d. Other insurance. Specify:                                                                                                     15d                  $0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
   Specify:                                                                                                                                                $0.00
                                                                                                                                       16
17. Installment or lease payments:
   17a. Car payments for Vehicle 1                                                                                                    17a                  $0.00
   17b. Car payments for Vehicle 2                                                                                                    17b                  $0.00
   17c. Other. Specify:                                                                                                               17c                  $0.00
   17d. Other. Specify:                                                                                                               17d                  $0.00
18. Your payments of alimony, maintenance, and support that you did not report as deducted from                                                            $0.00
    your pay on line 5, Schedule I, Your Income (Official Form 106I).                                                                 18.
19.Other payments you make to support others who do not live with you.
   Specify:                                                                                                                           19.                  $0.00
20.Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
   20a. Mortgages on other property                                                                                                   20a                  $0.00
   20b. Real estate taxes.                                                                                                            20b                  $0.00
   20c. Property, homeowner's, or renter's insurance                                                                                  20c                  $0.00
   20d. Maintenance, repair, and upkeep expenses.                                                                                     20d                  $0.00
   20e. Homeowner's association or condominium dues                                                                                   20e                  $0.00




  Official Form 106J                                                    Schedule J: Your Expenses                                                page 2
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Debtor 1 John                             Anthony                   Gatell                      Case number (if known) 20-65927
         First Name                       Middle Name               Last Name

21.Other. Specify:                                                                                                          21                   $0.00

22. Calculate your monthly expenses.                                                                                                       $2,427.00
   22a. Add lines 4 through 21.                                                                                                                $0.00
   22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                                    $2,427.00
   22c. Add line 22a and 22b. The result is your monthly expenses.                                                          22.
23.Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                                       23a             $2,977.00
   23b. Copy your monthly expenses from line 22 above.                                                                     23b             $2,427.00
   23c. Subtract your monthly expenses from your monthly income.                                                                              $550.00
        The result is your monthly net income.                                                                             23c

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

        No

        Yes

                 Explain here:




  Official Form 106J                                               Schedule J: Your Expenses                                            page 3
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                        )              CHAPTER 13
                                              )
John Anthony Gatell                           )
                                              )              CASE NO. 20-65927-SMS
                                              )
               Debtor (s)                     )              JUDGE: Sigler
                                  CERTIFICATE OF SERVICE
        I hereby certify that I am more than 18 years of age and that I have this day served a
copy of the within amended schedules upon the following by depositing a copy of the same in
U.S. Mail with sufficient postage affixed thereon to ensure delivery:

                                    John Anthony Gatell
                                     945 City Park Drive
                                    McDonough, GA 30252

                                     Mary Ida Townson
                                      Chapter 13 Trustee
                                          Suite 1600
                                 285 Peachtree Center Ave NE
                                      Atlanta, GA 30303


Dated: June 22, 2020
                                                    /s / Emily Allen
                                                    Emily Allen
                                                    Attorney for the Debtor
                                                    GA Bar No.: 264387
                                                    The Semrad Law Firm, LLC.
                                                    Suite 2000
                                                    235 Peachtree St NE
                                                    Atlanta, GA 30303
                                                    (678)668-7165
               Case 20-65927-sms               Doc 15   Filed 06/22/20           Entered 06/22/20 13:41:08      Desc Main
Label Matrix for local noticing                    AZUMA LEA
                                                      Document           Page 10 of 11            American Express National Bank
113E-1                                             2905 SAN GABRIEL                               c/o Becket and Lee LLP
Case 20-65927-sms                                  AUSTIN, TX 78705-3500                          PO Box 3001
Northern District of Georgia                                                                      Malvern PA 19355-0701
Atlanta
Mon Jun 22 10:56:56 EDT 2020
Bank of the Ozarks                                 CAP1/WMT                                       CAPITAL ONE AUTO FINAN
P.O. Box 8811                                      PO BOX 30285                                   PO Box 4360
Little Rock, AR 72231-8811                         SALT LAKE CITY, UT 84130-0285                  Houston, TX 77210-4360



CBNA                                               (p)JPMORGAN CHASE BANK N A                     COMENITYBANK/VICTORIA
Po Box 6497                                        BANKRUPTCY MAIL INTAKE TEAM                    PO BOX 182789
Sioux Falls, SD 57117-6497                         700 KANSAS LANE FLOOR 01                       COLUMBUS, OH 43218-2789
                                                   MONROE LA 71203-4774


CREDIT ONE BANK NA                                 Capital One Auto Finance, a division of Capi   Capital One N.A.
PO BOX 98875                                       4515 N Santa Fe Ave. Dept. APS                 4515 N Santa Fe Ave
LAS VEGAS, NV 89193-8875                           Oklahoma City, OK 73118-7901                   Oklahoma City, OK 73118-7901



CarMax Auto Finance dba CarMax Business Serv       CarMax Funding Services, LLC                   Carmax Auto Finance
225 Chastain Meadows Court,                        CarMax Auto Finance                            2040 THALBRO ST
Suite 210                                          Attn: Bankruptcy Department                    Richmond, VA 23230-3200
Kennesaw, GA 30144-5942                            225 Chastain Meadows Court, Ste 210
                                                   Kennesaw, GA 30144-5942

Department of Justice, Tax Division                Vesela Z. Eminovska                            (p)FARMERS FURNITURE
75 Ted Turner Drive SW                             The Semrad Law Firm                            ATTN CORPORATE CREDIT DEPT
Civil Trial Section, Southern                      Suite 300                                      PO BOX 1140
Atlanta, GA 30303-3315                             235 Peachtree Street NE                        DUBLIN GA 31040-1140
                                                   Atlanta, GA 30303-1404

FIA CARD SERVICES                                  FIRST PREMIER BANK                             Farmers Home Furniture-McDonough,GA
PO BOX 17054                                       c/o Jefferson Capital Systems LLC PO Box       Attn: Corporate Credit Department
WILMINGTON, DE 19850-7054                          c/o Linda Dold                                 P.O. Box 1140
                                                   Saint Cloud, MN 56302                          Dublin, GA 31040-1140


GBS/FIRST ELECTRONIC B                             John Anthony Gatell                            (p)GEORGIA DEPARTMENT OF REVENUE
PO BOX 4499                                        945 City Park Drive                            COMPLIANCE DIVISION
BEAVERTON, OR 97076-4499                           McDonough, GA 30252-1026                       ARCS BANKRUPTCY
                                                                                                  1800 CENTURY BLVD NE SUITE 9100
                                                                                                  ATLANTA GA 30345-3202

HCCREDIT/FEB                                       (p)HENRY COUNTY TAX COMMISSIONER               Internal Revenue Service
PO BOX 829                                         140 HENRY PARKWAY                              P.O. Box 7346
SPRINGDALE, AR 72765-0829                          MCDONOUGH GA 30253-6696                        Philadelphia, PA 19101-7346



Internal Revenue Service - Atl                     Brandi L. Kirkland                             LVNV Funding, LLC
401 West Peachtree St NW Room 1665                 Mary Ida Townson, Ch. 13 Trustee               Resurgent Capital Services
ATTN: Ella Johnson, M/S 334-D                      Suite 1600                                     PO Box 10587
Atlanta, GA 30308                                  285 Peachtree Center Ave, NE                   Greenville, SC 29603-0587
                                                   Atlanta, GA 30303-1229
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MID ATLANTIC FINANCE C                               NET Document
                                                         CREDIT             Page 11 of 11                 NetCredit
4592 ULMERTON RD STE 200                             175 W Jackson Blvd                                   175 W Jackson Blvd
CLEARWATER, FL 33762-4107                            Ste. 1000                                            Suite 1000
                                                     Chicago, IL 60604-2863                               Chicago, IL 60604-2863


Office of the Attorney General - Atlanta             Office of the United States Trustee                  Premier Bankcard, Llc
40 Capitol Sq Sw                                     75 Ted Turner Dr Sw                                  Jefferson Capital Systems LLC Assignee
Attn: Karrollanne K. Cayce                           Atlanta, GA 30303-3315                               Po Box 7999
Atlanta, GA 30334-9057                                                                                    Saint Cloud Mn 56302-7999


(p)REPUBLIC FINANCE LLC                              SYNCB/CARE CREDIT                                    SYNCB/CARECR
282 TOWER RD                                         PO BOX 960061                                        C/O PO BOX 965036
PONCHATOULA LA 70454-8318                            Orlando, FL 32896-0061                               ORLANDO, FL 32896-0001



SYNCB/CCPPBY                                         SYNCB/WALMART                                        Special Assistant U.S. Attorney
C/O PO BOX 965036                                    Po Box 530927                                        401 W. Peachtree Street, NW, STOP 1000-D
ORLANDO, FL 32896-0001                               Atlanta, GA 30353-0927                               Atlanta, GA 30308



THD/CBNA                                             Town Village Homeowners Association, Inc             Mary Ida Townson
701 E 60th St N                                      303 Corporate Center Dr                              Chapter 13 Trustee
Sioux Falls, SD 57104-0432                           Suite 300 A                                          Suite 1600
                                                     Stockbridge, GA 30281-6303                           285 Peachtree Center Ave, NE
                                                                                                          Atlanta, GA 30303-1259

United States Attorney                               VERIZON WIRELESS
Northern District of Georgia                         P.O. Box 660108
75 Ted Turner Drive SW, Suite 600                    Dallas, TX 75266-0108
Atlanta GA 30303-3309




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


CHASE BANK USA, NA                                   FARMERS HOME FURNITURE                               Georgia Department of Revenue
PO Box 15298                                         PO BOX 1140                                          COMPLIANCE DIVISION, ARCS - BANKRUPTCY
Wilmington, DE 19850                                 DUBLIN, GA 31040                                     1800 CENTURY BLVD NE, SUITE 9100
                                                                                                          Atlanta, GA 30345


Henry County Tax Commissioner                        REPUBLIC FINANCE                                     (d)Republic Finance, LLC
140 Henry Parkway                                    4450 Hugh Howell Rd Ste 15                           282 Tower Rd
Mcdonough, GA 30253                                  Tucker, GA 30084                                     Ponchatoula, La 70454



End of Label Matrix
Mailable recipients      46
Bypassed recipients       0
Total                    46
